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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )
                                        )                     8:05CR274
             vs.                        )
                                        )                     ORDER
ROSIO CRUZ,                             )
                                        )
                   Defendant.           )




      A hearing on defendant’s Change of Plea was held on November 29, 2005. However,
the court has determined it must do further inquiry.

       IT IS ORDERED that defendant’s Change of Plea is set for to December 7, 2005 at
at 3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

      Defendant is to submit an Amended Petition to Enter Plea of Guilty prior to the
hearing. Since this is a criminal case, the defendant must be present, unless excused by
the Court. An interpreter will be provided by the court.

      DATED this 2nd day of December, 2005.




                                        BY THE COURT:



                                        s/ F. A. Gossett
                                        U.S. Magistrate Judge
